Case 1:17-cv-24117-PCH Document 1 Entered on FLSD Docket 11/08/2017 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                           CASE NO.: _________________________

 GAYNISHA WILLIAMS, NATHANAEL MARS,
 SHANNON DANIELS, LAKEISHA CHATFIELD,
 and LAKEISHA CHATFIELD ON BEHALF OF
 HER MINOR DAUGHTER T.C.,

        Plaintiffs,
 vs.

 MIAMI BEVERLY, LLC, LIBERTY
 APARTMENTS, LLC, FREEDOM
 APARTMENTS, LLC, DENISE VAKNIN,
 and ABRAHAM VAKNIN,

       Defendants.
 ________________________________/

                                    NOTICE OF REMOVAL

        Defendants, MIAMI BEVERLY, LLC, LIBERTY APARTMENTS, LLC, FREEDOM

 APARTMENTS, LLC, DENISE VAKNIN and ABRAHAM VAKNIN, pursuant to 28 U.S.C. §§

 1331, 1441, and 1446, hereby file this Notice of Removal, removing this action from the

 Eleventh Judicial Circuit Court in and for Miami Dade County, Florida, to the United States

 Court for the Southern District of Florida, Miami Division. The removal of this action is based

 upon the following:

        1.      The United States District Court has original jurisdiction over this action based

 upon allegations of violating the Fair Housing Act, 42 U.S.C. 3601, et seq., raised in Plaintiffs’

 First Amended Complaint deemed filed on October 19, 2017.

        2.      The Plaintiffs’ First Amended Complaint seeks damages based upon alleged

 breach of warranty of habitability (Counts I, VII, and XII), violation of Section 83.67(1),

 Fla.Stat. (Counts II, VIII, and XIII), gross negligence (Counts III and XIX), negligent infliction
Case 1:17-cv-24117-PCH Document 1 Entered on FLSD Docket 11/08/2017 Page 2 of 3



 of emotional distress (Counts IV, XI, and XX), violation of obligation of good faith (Counts V,

 IX, and XXI), violation of Florida Deceptive and Unfair Practices Act (Counts VI, X, and XXII),

 and violation of the Fair Housing Act (Count XXIII).

        3.      Venue is proper in the Southern District of Florida, Miami Division, because the

 Circuit Court action is pending within the jurisdictional confines of this District and Division.

 See 28 U.S.C. §§ 1443; 28 U.S.C. § 1446 (a); and Local Rule 4.02.

        4.      The Plaintiffs are all individuals residing in Miami, Florida.

        5.      The corporate Defendants, Miami Beverly, LLC and Freedom Apartments, LLC,

 are Florida limited liability companies, incorporated in the State of Florida.

        6.      The Defendants, Denise Vaknin and Abrahams Vaknin, are permanent residents,

 citizens, and domiciled in the State of New Jersey.

        7.      The Civil Cover Sheet is attached hereto.

        8.      A copy of the Eleventh Judicial Circuit Court docket, as well as copies of all

 papers and pleadings filed in the Eleventh Judicial Circuit Court case are attached hereto.

                                               Respectfully submitted,

                                               ANDERSON LAW GROUP

                                               /s/ Layla K. McDonald
                                               Layla K. McDonald, Esq.
                                               FBN: 011308
                                               13577 Feather Sound Drive, Suite 500
                                               Clearwater, FL 33762
                                               Telephone: (727) 329-1999
                                               Facsimile: (727) 329-1499
                                               Email: lmcdonald@floridalawpartners.com
                                               Email: eserve@floridalawpartners.com
                                               Attorneys for Defendants




                                                  2
Case 1:17-cv-24117-PCH Document 1 Entered on FLSD Docket 11/08/2017 Page 3 of 3



                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 8th day of November, 2017, I caused the foregoing to
 be electronically filed with the Clerk of the Court using CM/ECF which will provide electronic
 notice of such filing to all counsel of record.

 Legal Services of Greater Miami, Inc.             Legal Services of Greater Miami, Inc.
 Rebecca Parsons Schram, Esq.                      Rebecca Parsons Schram, Esq.
 Jeffrey Hearne, Esq.                              Jeffrey Hearne, Esq.
 3000 Biscayne Blvd, Suite 500                     3000 Biscayne Blvd, Suite 500
 Miami, FL, 33137                                  Miami, FL, 33137
 RSchram@legalservicesmiami.org                    RSchram@legalservicesmiami.org
 PBerrios@legalservicesmiami.org                   PBerrios@legalservicesmiami.org

 Renee M. Smith, Esq.
 9000 Las Vegas Boulevard S.
 Unit 2291
 Las Vegas, NV 89123
 renee@smithtitleservices.com


                                            /s/ Layla K. McDonald
                                            Layla K. McDonald, Esq.
                                            FBN: 011308




                                               3
